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                                     ORDER GRANTING (ECF NO. 37)
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ORDER

IT IS HEREBY ORDERED that Plaintiff's Emergency Motion to Enlarge Time to Oppose
Defendants Motion to Dismiss (ECF No. 37) is GRANTED.

IT IS FURTHER ORDERED that Plaintiffs shall file their oppositions to motions (ECF Nos. 26, 27,
33) on or before November 10, 2020.

IT IS SO ORDERED this 21st day of October, 2020.


______________________________________
ROBERT C. JONES
United States District Judge
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